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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA



 PATRICIA McNULTY                              :
                                               :
                         Plaintiff,            :
 -vs-                                          :   CIVIL ACTION NO. 2:19-cv-05029-AB
                                               :
 THE MIDDLE EAST FORUM, et al                  :
                                               :
                         Defendants.           :



   DEFENDANT THE MIDDLE EAST FORUM’S OPPOSITION TO PLAINTIFF MS.
   PATRICIA MCNULTY’S MOTION TO COMPEL RESPONSES TO PLAINTIFF’S
                  WRITTEN DISCOVERY REQUESTS

        Defendant The Middle East Forum (“The Forum” or “Defendant”), submits the foregoing

Opposition to Plaintiff Patricia McNulty’s Motion to Compel Responses to Plaintiff’s Written

Discovery Requests (ECF No. 56), and in support thereof avers as follows:

                                          Introduction

        Simply put, The Forum has responded to all written discovery that Plaintiff has served – a

fact that is made clear in Plaintiff’s own Motion to Compel (the “Motion”). (ECF No. 56, at ¶¶ 2

and 4; see also id. at Exhibits B and D.) Indeed, it has been over eight (8) months since The Forum

served its answers and objections to interrogatories and over five (5) months since The Forum

served written responses to document requests. The Forum made a series of rolling productions

in this Action, beginning on or about May, 1, 2020 and served its eighth and final production on

on or about December 22, 2020. In total, The Forum has produced approximately 2.8 GBs of

information comprised of more than 3500 documents. Thus, Plaintiff’s Motion is—quite simply—

inaccurate, retaliatory, and frivolous.




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                          Factual Background & Status of Discovery

        Plaintiff Patricia McNulty is a former employee of The Forum. She filed this action against

The Forum, its President, Mr. Daniel Pipes, Director, Mr. Gregg Roman, and a former employee,

Mr. Matthew Bennett, alleging sexual harassment, discrimination, and retaliation. Ms. McNulty

is one of five former employees who filed claims against The Forum in this Court in 2019. Ms.

McNulty’s counsel, Seth Carson, Esq., is representing three of the other plaintiffs.1 The Forum’s

undersigned counsel is presently involved in one other on-going action, pending before the

Honorable Joshua D. Wolson, at Ms. Lisa Barbounis v. Middle East Forum, et al., 2:19-cv-05030.

        Given that The Forum was represented by the same counsel and that Mr. Carson’s clients,

Plaintiff and Ms. Barbounis, filed near-identical complaints in this Court and served near-identical

discovery requests and responses,2 The Forum explained to Mr. Carson that it would produce

documents responsive to discovery served in the two separate actions. Mr. Carson agreed to this




1
   In the matter Barbounis v. The Middle East Forum, et al., 2:19-cv-05030 (the “Barbounis
Action”), currently pending before the Honorable Joshua D. Wolson, Mr. Carson is representing
plaintiff Ms. Lisa Barbounis. In the matter Brady v. The Middle East Forum, et al., 2:19-cv-05082
(the “Brady Action”), Mr. Carson is representing plaintiff Ms. Caitriona Brady. Cozen O’Connor
is representing The Forum in each of these actions. The fourth action, O’Brien v. The Middle East
Forum, et al., 2:19-cv-06078 (the “O’Brien Action”), pending before the Honorable John M.
Gallagher, plaintiff Ms. Marnie O’Brien is represented by separate counsel Erica Shikunov, who
also now is with the Derek Smith Law Group. Mr. Carson also represented another former
employee who voluntarily withdrew her lawsuit after The Forum filed a Motion to Dismiss.
Yonchek v. The Middle East Forum, et al., 2:19-cv-05083 (the “Yonchek Action”). The Forum
filed a separate action against Ms. Lisa Barbounis captioned at The Middle East Forum v.
Barbounis, No. 19-5687, pending in this Court before the Honorable Juan R. Sanchez, in which
The Forum has alleged a series of common law and statutory claims arising from Ms. Barbounis’
theft of trade secret information (the “Trade Secrets Action”). Mr. Carson is also representing Ms.
Barbounis in that action, but Cozen O’Connor has not appeared in that action.

2
 Indeed, as noted in The Forum’s February 5, 2021 letter brief, Plaintiff McNulty appears to
have copied, verbatim, the responses of Ms. Barbounis as her own and served them on
Defendants in this action without review, resulting in references to jobs she never held, doctors
she never saw and devices she never used. See Doc. 48 at p.2.

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and never vocalized any issue or concern with this approach. Mr. Carson, however, represented

two different parties in two different actions, and thus he and Plaintiff could not rely on productions

made by Ms. Barbounis to satisfy Plaintiff’s obligation to produce documents in this Action.

        In the last five months, and all since The Forum served its discovery responses, Plaintiff

and her counsel have engaged in discovery abuses requiring Defendants to file multiple motions

to compel and/or for contempt, which have resulted in numerous punitive orders of this Court.

(See ECF Nos. 33, 36, 38, 40, 41, 43, 47, 48, 50, 51.) Despite The Forum’s numerous motions

regarding Plaintiff’s discovery failures and the disregard of those Court’s orders by Plaintiff and

her counsel, Plaintiff never raised any issue or concern with The Forum’s discovery until the

filing of the instant motion. Only after Plaintiff and her counsel were found in violation of

numerous court orders, held in contempt, and ordered to pay The Forum’s attorneys’ fees

incurred for various appearances and motions, did Plaintiff concoct alleged deficiencies in The

Forum’s discovery to place before the Court via this Motion. Clearly, the impetus for the Motion

is not a good faith issue with The Forum’s discovery but rather Plaintiff’s and her counsel’s bad

faith effort to distract the Court from The Forum’s pending letter brief.


                                             Argument

        The Forum is simply at a loss to understand Plaintiff’s supposed grounds for moving to

compel discovery responses. Plaintiff herself admits that The Forum has responded in writing to

the discovery requests. (ECF No. 56, at ¶¶ 2 and 4.) While it is true that The Forum asserted

appropriate objections where necessary, The Forum nonetheless responded appropriately and in

full. The Forum responded to all sixty-six of Plaintiff’s document requests, which were incredibly

overbroad and sought information not only irrelevant to this Action but information, including

personal and confidential information, about non-party former employees. The Forum, where


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necessary and appropriate, lodged detailed, specific objections. (See ECF No. 56, Exhibit D, at

Nos. 17-18, 30, 37, 45.) Until filing her motion, Plaintiff voiced no issue with these responses.


        Of Plaintiff’s (66) sixty-six requests, The Forum responded to approximately two-thirds of

the requests by either producing non-privileged responsive documents or confirming that it had no

non-privileged, responsive documents in its possession. Only where the requests were truly

objectionable did The Forum not produce documents subject to and without waiver of its stated

objections. Plaintiff’s assertion that The Forum objected to each request, and did so with “mostly”

boiler plate objections, misrepresents The Forum’s responses and ignores the substantive nature

of The Forum’s written responses. (See ECF No. 56, at ¶¶ 6, 8, 12.) The Forum is also at a loss

to understand Plaintiff’s assertion that she is “unaware of any documents that were produced.”

(Id., at ¶ 15.) As explained above, The Forum has produced thousands and thousands of documents

over the course of eight productions.


        Furthermore, Plaintiff’s argument that evidence of racial harassment is relevant and thus

such documents should be produced is outlandish. (See id., at ¶¶ 18-19.) There is not a single

claim or allegation relating to racial harassment in this Action, nor any other action pending against

The Forum. Neither Plaintiff nor any of Mr. Carson’s other clients who are former employees of

The Forum has made any allegation of race-based harassment.3



3
 Defendants are left to wonder why Plaintiff chose to dedicate two pages of her five page motion
to a discussion of racial harassment when no such allegations are present in this case, and
whether her doing so is an intentional effort to color the views of anyone who might read the
docket. In any event, Mr. Roman has long been at the forefront of outreach efforts and joint
measures between the Jewish community and both the Black community and the LGBTQ
community. See, e.g., Goldstein, Andrew, “New Jewish Delegate Assembly resolutions pack a
punch for CRC,” PITTSBURG JEWISH CHRONICLE, May 21, 2014,
https://jewishchronicle.timesofisrael.com/new-jewish-delegate-assembly-resolutions-pack-a-
punch-for-crc/ (last accessed March 10, 2021); (quoting Gregg Roman on new LGBT resolution,

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        Prior to filing her Motion, Plaintiff’s counsel never reached out to The Forum to discuss

the nature of its objections or the substance of its productions. Plaintiff’s motion, filed more than

five months since the discovery responses were served, is both senseless and baseless. (Id., at ¶

9.)


        WHEREFORE, Counsel respectfully requests that the Court deny Plaintiff’s Motion to

Compel in light of The Forum’s fulsome and complete production of documents and service of

written discovery objections.



                                              Respectfully submitted,

                                              COZEN O’CONNOR

                                              BY: /s/Jonathan R. Cavalier
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Dated: March 10, 2021                              Attorneys for Defendant
                                                   The Middle East Forum




“[T]he message that this resolution brings forth is that hate is hate — it doesn’t matter which
group it’s against.”); Reinhertz, Adam, “Diversity roundtable continues to gain momentum,”
PITTSBURGH JEWISH CHRONICLE, June 25, 2014,
https://jewishchronicle.timesofisrael.com/diversity-roundtable-continues-to-gain-momentum/
(last accessed March 20, 2021).

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                                   CERTIFICATE OF SERVICE

          I hereby certify that I served upon all counsel of record a true and correct copy of

Defendant The Middle East Forum’s Opposition to Plaintiff’s Motion for Contempt via ECF

filing.

                                                /s/ Jonathan R. Cavalier
                                                Jonathan R. Cavalier, Esquire

                                                COZEN O’CONNOR

                                                Attorney for Defendant,
                                                The Middle East Forum

Dated: March 10, 2021




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